                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

BRANDON BRADLEY, SR.,

                       Plaintiff,

               v.                                            Case No. 20-C-82

JOSEPH BEAHM, et al.,

                       Defendants.


                                     DECISION AND ORDER


       On February 8, 2021, the Court granted Defendants’ motion for summary judgment and

dismissed this case. Dkt. No. 101. About a week later, plaintiff Brandon Bradley, who is

representing himself, filed a motion for relief from judgment. Dkt. No. 105. The Court denied the

motion on February 19, 2021. Dkt. No. 106. Nearly eight months later, on October 19, 2021,

Bradley filed a second motion for relief from judgment. Dkt. No. 111. Bradley explains that

Defendants offered video footage of him in his cell, but the video had to be fake because he had

previously scratched the lens of the camera in his cell.

       Bradley’s motion is denied. Contrary to his assertion, Defendants did not offer video from

an in-cell camera; they offered video from hallway cameras. Dkt. No. 101 at 9. Further the Court

already rejected Bradley’s assertions that the video was fabricated and that the person in the video

is not him. Id. Nothing in Bradley’s motion convinces the Court that it should reconsider that

decision.

       IT IS THEREFORE ORDERED that Bradley’s second motion for relief from judgment

(Dkt. No. 111) is DENIED.

       Dated at Green Bay, Wisconsin this 20th day of October, 2021.

                                                             s/ William C. Griesbach
                                                             William C. Griesbach
                                                             United States District Judge

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